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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

    UNITED STATES OF AMERICA,                  )
                                               )
         Plaintiff,                            )
                                               )           No. 6:18-CR-48-REW-HAI
    v.                                         )
                                               )
    JEFFREY GHENT,                             )                    ORDER
                                               )
          Defendant.                           )

                                        *** *** *** ***

         This matter is before the Court on the Recommended Disposition (DE #180) of United

States Magistrate Judge Hanly A. Ingram, addressing whether Defendant Jeffrey Ghent is

competent to stand trial pursuant to 18 U.S.C. §§ 4241 and 4247(d). Based on the psychiatric

evaluation by Dr. Lisa B. Feldman (DE #154) and Defendant’s and his counsel’s representations

at the competency hearing (see DE #179, Minutes), Judge Ingram recommended that the Court

find Ghent competent to proceed. See DE #180 at 5. The recommendation, filed on March 28,

2019, advised the parties that any objections must be filed within three days of its entry. Id. at 6.

This period has lapsed, and neither party has objected.1

         This Court reviews de novo those portions of the Recommended Disposition to which a

party objects. 28 U.S.C. § 636(b)(1). But, the Court is not required to “review . . . a magistrate[]

[judge’s] factual or legal conclusions, under a de novo or any other standard, when neither party

objects to those findings.” Thomas v. Arn, 106 S. Ct. 466, 472 (1985). Where the parties do not



1
  The third and final day to object, see DE #180 at 6, fell on Sunday, March 31, 2019. The parties
thus had through day’s end on Monday, April 1, to lodge any objection. See LCrR 45.2 and Rule
45(a)(1)(C).
                                                   1
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object to the magistrate judge’s recommendation, they waive any right to review. See Fed. R. Civ.

P 59; United States v. White, 874 F.3d 490, 495 (6th Cir. 2017) ("When a party . . . fails to lodge

a specific objection to a particular aspect of a magistrate judge's report and recommendation, we

consider that issue forfeited on appeal."); see also United States v. Branch, 537 F.3d 582, 587 (6th

Cir. 2008) (noting that "[t]he law in this Circuit is clear" that a party who fails to object to a

magistrate judge's recommendation forfeits his right to appeal its adoption).

       Accordingly, the Court ADOPTS the Recommended Disposition (DE #180) and FINDS

Ghent competent to face further proceedings in this matter, including trial.

       This the 2nd day of April, 2019.




                                                 2
